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   f);}_+c4~I/ Pt-c fx cP,vrll,                                  Civil Case No. -3:23-cv-01110-SI
                                                                                    -------
      (Enter full name ofplaintiff)                              (to be assigned by Clerk's Office)

                                  Plaintiff,

                                   V.                            COMPLAINT FOR VIOLATION OF CIVIL
                                                                 RIGHTS (PRJSONER COMPLAINT)




                                                          I. PARTIES

                  List your name, address, and telephone number below, and the same information for
           each defendant. Make sure that the defendant(s) listed below are identical to those
           contained in the caption of the complaint. Attach additional sheets ofpaper ifnecessary.


           Plaintiff                   Name:   Pt, rc/4.t II /'t1e fsrcftv-/1"L                             1

                                       Street Address:        .IV"/§ f vr.ver.1-1.e..s5 0 R
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      Complaint for Violation of Civil Rights (Prisoner Complaint)
      [Rev. 01 /2018)
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 Defendant No. 1

                              Street Address :   ----
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                              City, State & Zip Code:      --~+--+b--7-+l__,_,__,_/T_ _ _ __
                              Telephone No.:


 Defendant No. 2              Name:              $<;ti
                              Street Address:
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                              Telephone No.:                                  /


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 Defendant No. 3              Name:
                                       ,l L- - l 7- - - - - -
                                      --                 ~


                              Street Address:
                                                 - - -- - - - - - - - - - - -
                              City, State & Zip Code: _ _ _ _ _ _ _ _ _ _ __

                              Telephone No.:


 Defendant No. 4              Name:             DeY«ner= Df 5 5,f __>';; ~6/3
                              Street Address:               ,             ,

                              City, State & Z ip Code: ,/lZ7A=
                              Telephone No.:


                                     II. BASIS FOR JURISDICTION

         Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any
 rights, privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens
 v. Six Unknown Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
 federal officials for the violation of certain constitutional rights.

        A. You are bringing suit against (check all that apply) :

                     D Federal officials (a Bivens claim)
                 ~        tate or local officials (a§ 1983 claim)



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                              B. What federal constitutional, statutory, or treaty right(s) is/are at issue?

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                                                       III. STATEMENT OF CLAIMS

                                                                     Claim I

                           State here as briefly as possible the facts of your case. Describe how each defendant
                   was involved, when the conduct occurred, and any injuries you have suffered as a result.
                   It is not necessary to give any legal arguments or cite any cases or statutes.
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                                                                     Claim II
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                           State here as briefly as possible the facts of your case. Describe how each defendant
                    was involved, when the conduct occurred, and any injuries you have suffered as a result.




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                  Complaint for Violation of Civil Rights (Prisoner Complaint)
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                                               Claim III

          State here as briefly as possible the facts ofyour case. Describe how each defendant was
    involved, when the conduct occurred, and any injuries you have suffered as a result. It- is not
    necessary to give any legal arguments or cite any cases or statutes.
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    (Ifyou have additional claims, describe them on another piece ofpaper, using the same
    outline.)

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                             IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

         I have filed for administrative relief as to all claims in Section III and have concluded all
         administrative appeals available to me.




                                                      V. RELIEF

               State briefly exactly what you want the court to do for you and the amount, ifany, of
          monetary compensation you are seeking. Make no legal arguments. Cite no cases or statutes.

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                   I declare under penalty of perjury that the foregoing is true and correct.

                   Signed this   ,t,,:, 1/iay of    ~/          y           ,    20_'.___1




                                                          (Signature ofPlaintiff)




         Complaint for Violation of Civil Rights (Prisoner Complaint)                                      5
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